                      NOTICE: NOT FOR OFFICIAL PUBLICATION.
  UNDER ARIZONA RULE OF THE SUPREME COURT 111(c), THIS DECISION IS NOT PRECEDENTIAL
                  AND MAY BE CITED ONLY AS AUTHORIZED BY RULE.




                                     IN THE
              ARIZONA COURT OF APPEALS
                                  DIVISION ONE


  IN RE TERMINATION OF PARENTAL RIGHTS AS TO J.O. and R.O.


                              No. 1 CA-JV 24-0059
                                FILED 08-20-2024

            Appeal from the Superior Court in Mohave County
                         No. S8015JD202200049
                The Honorable Megan A. McCoy, Judge

                                   AFFIRMED


                                    COUNSEL

Robert D. Rosanelli, Phoenix
By Robert Rosanelli
Counsel for Appellant Alissa O.

Arizona Attorney General’s Office, Phoenix
By Dawn R. Williams
Counsel for Appellee Department of Child Safety
       IN RE TERM OF PARENTAL RIGHTS AS TO J.O. and R.O.
                      Decision of the Court


                      MEMORANDUM DECISION

Presiding Judge Brian Y. Furuya delivered the decision of the Court, in
which Judge James B. Morse Jr. and Judge David D. Weinzweig joined.


F U R U Y A, Judge:

¶1           Alissa O. (“Mother”) appeals the juvenile court’s order
terminating her parental rights to J.O. and R.O. We affirm as follows.

                FACTS AND PROCEDURAL HISTORY

¶2           Mother is the biological parent of twins J.O. and R.O., born in
October 2021. The Department of Child Safety (“DCS”) became involved
with the family upon learning the twins were born substance-exposed to
methamphetamines, opiates, and THC. Thereafter, DCS removed the twins
and started the dependency proceeding. In August 2022, the court
adjudicated the twins dependent. DCS then placed the twins with their
Maternal Great-Grandmother (“Great-Grandmother”).

¶3           DCS offered various services to Mother, including substance-
abuse services, mental-health services, drug testing, and parenting-skills
services. However, Mother did not fully participate in those services, and
they were closed unsuccessfully. Further, Mother repeatedly violated the
terms of her supervised visitation of the twins by taking the twins from
their placement.

¶4            In November 2023, DCS moved to terminate Mother’s
parental rights to the twins. The day before the termination hearing, Mother
moved to appoint Great-Grandmother as permanent guardian for the
twins. At the hearing on both motions, DCS’s specialist opined that
terminating Mother’s parental rights would provide the twins with stability
and that, without termination, Mother “would believe that she could just
come in and take the twins whenever she wants to.” She also testified Great-
Grandmother can meet the twins’ needs and provide them with
permanency. The specialist did not support permanent guardianship for
the twins because Mother would disrupt the children’s stability with Great-
Grandmother by attempting to assert her parental rights.

¶5          The juvenile court terminated Mother’s parental rights on
substance abuse and fifteen-months’ out-of-home placement grounds.
Mother timely appealed, and we have jurisdiction under Article 6, Section


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        IN RE TERM OF PARENTAL RIGHTS AS TO J.O. and R.O.
                       Decision of the Court

9 of the Arizona Constitution and Arizona Revised Statutes (“A.R.S.”) §§ 8-
235, 12-120.21, and -2101(A)(1).

                                 DISCUSSION

¶6             We review a juvenile court’s termination order for an abuse
of discretion. Brionna J. v. Dep’t of Child Safety, 255 Ariz. 471, 478 ¶ 29 (2023).
The court, as the trier of fact in a termination proceeding, “is in the best
position to weigh the evidence and assess witness credibility.” Id. ¶ 30. We
accept the court’s factual findings unless no reasonable evidence supports
them and will affirm a termination order unless the order is clearly
erroneous. Id.

¶7             To terminate parental rights, the court must find by clear and
convincing evidence the existence of at least one statutory ground under
A.R.S. § 8-533 and find by a preponderance of the evidence that termination
would be in the child’s best interests. A.R.S. § 8-533(B); Jennifer S. v. Dep’t of
Child Safety, 240 Ariz. 282, 286 ¶ 15 (App. 2016). Ultimately, the court’s
primary concern during the best-interests inquiry is “protecting a child’s
interest in stability and security.” Demetrius L. v. Joshlynn F., 239 Ariz. 1, 4 ¶
15 (2016) (quoting Kent K. v. Bobby M., 210 Ariz. 279, 286 ¶ 35 (2005)). If
“termination of parental rights would not be in the child’s best interests,” a
court may establish permanent guardianship. A.R.S. § 8-871(A)(4).

¶8            Mother does not challenge the court’s findings and
conclusions regarding the statutory grounds for termination or that
termination was in the children’s best interests. Instead, her sole argument
on appeal is that the court should have appointed a permanent guardian
for the twins. She cites Arizona’s Parents’ Bill of Rights, A.R.S. §§ 1-601 et
seq., which provides that the State may not infringe on a parent’s rights
“without demonstrating that the compelling government interest as
applied to the child[ren] involved is of the highest order, is narrowly
tailored and is not otherwise served by a less restrictive means.” A.R.S. § 1-
601. Mother contends that permanent guardianship is a less restrictive
means to assure the twins’ safety than termination and, therefore, the court
erred by terminating her parental rights.

¶9           We discern no error. Mother’s argument assumes that
permanent guardianship is sufficient to protect the twin’s best interests in
this case. But the court determined otherwise. Instead, it found that
termination was in the twin’s best interests and did so after expressly
considering the option of permanent guardianship. The court found
because the twins have been adjudicated dependent and placed under



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       IN RE TERM OF PARENTAL RIGHTS AS TO J.O. and R.O.
                      Decision of the Court

guardianship for a significant time while DCS made reasonable efforts to
reunify Mother with the twins, further efforts under a guardianship would
not be productive. The court also found termination and the permanency
of adoption was in the twins’ best interests. Given this record—including
Mother’s disruptions to the twins’ stability during their dependency—
reasonable evidence supports the court’s findings, and we may not second-
guess them. See Brionna J., 255 Ariz. at 478 ¶ 30. Thus, Mother cannot
establish that permanent guardianship was a less restrictive means to
assure the twins’ safety.

¶10           Nor is any other error apparent upon review of the court’s
termination order. Despite DCS’s diligent efforts, Mother did not remedy
the circumstances that had caused the twins to remain in out-of-home care
since July 2022. She failed to address her substance abuse issues and the
impact on the twins. Mother failed to attend substance-abuse treatment
throughout the case, remained unable to parent due to her unaddressed
substance-abuse and mental-health issues, and did not show that she could
safely parent the twins. Therefore, reasonable evidence supports the court’s
finding that Mother is unable to discharge her parental responsibilities for
an indeterminate period of time due to her lack of resiliency, and
termination was appropriate under A.R.S. § 8-533 and not clearly
erroneous.

¶11           Because the juvenile court properly found terminating
Mother’s parental rights—and not establishing a permanent
guardianship—was in the twins’ best interests, the court did not abuse its
discretion or violate the Parents’ Bill of Rights.

                              CONCLUSION

¶12          We affirm.




                           AMY M. WOOD • Clerk of the Court
                           FILED: AGFV



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